
PER CURIAM.
The summary final judgment is hereby reversed. We do not believe the appellee, Florida Power &amp; Light Company, carried its burden in the trial court of demonstrating the absence of a genuine issue of material fact. Landers v. Milton, 370 So.2d 368 (Fla.1979). In particular we believe issues of fact exist in regard to the existence and extent of any duty owed- to the appellants by the appellee, and as to the purpose of the light, the negligent maintenance of which forms the basis of the appellants’ allegations of liability against the appellee.
Accordingly, we reverse and remand this cause for further proceedings consistent herewith.
ANSTEAD, DELL and WALDEN, JJ., concur.
